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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:16-cv-02981-MSK-KMT
  TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
  others similarly situated,
                             Plaintiff
  v.

  EURTON ELECTRIC COMPANY, INC., a California corporation
                             Defendant

                               INDEX OF EXHIBITS IN SUPPORT OF
                                    MOTION TO DECERTIFY

  Exhibits to Declaration of John Buchanan

   Ex. No.       Description
   1             Initial Class List Fax Numbers (EE1-33)
   2             Supplemental Class List (EE2363)
   3             Tool List
   4             Examples of Credit Applications from production EE1411-1501
                 (relating to Initial Class List) (EE1289, EE1412, EE1419, EE1421,
                 EE1423, EE1425,EE1427, EE1428, EE1431, EE1434, EE1436,
                 EE1439, EE1442, EE1445, EE1453, EE1455, EE1458, EE1460,
                 EE1462, EE1466, EE1468, EE1471)

   5             Examples of Credit Applications from production EE1502-2022
                 (relating to Supplemental List) (EE1502-1521, 1611-1631, 1698-
                 1708)
   6             Old Customer Update Forms (EE03061-3070)
   7             Update Samples from production EE1411-1501 (relating to Initial
                 List), and production EE 3061-3964 (relating to Supplemental List)
                 (EE1287, EE1411, EE1416, EE1430, EE1433, EE1438, EE1441,
                 EE1447, EE1451, EE1454, EE1457, EE1464, EE1470, EE1473,
                 EE1476, EE1482, EE1487, EE1494, EE1496, EE1498, EE1500)
   8             Examples for Data Quote Sheets from EE2365-3060 (EE2366-2375)




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   9             Examples of faxes after oral verification (post lawsuit) from
                 production EE0039-1285 (EE000096, EE000103, EE000146,
                 EE000148, EE00270, EE000295)
   10            Spreadsheet of Eurton Review of first class list – EE2362
   11            Spreadsheet of Eurton Review of second class list -EE2364
   12            Postcard
   13            Examples of evidence of business transactions from production
                 (EE3947- EE4969 (EE4134-4137,EE4146, EE4148, EE4652,
                 EE4840-EE4811)
   14            Examples of Prior Permission consent documents from EE1290-
                 1410
  Exhibits to Declaration of Stephen A. Watkins
   15         Westfax response to Subpoena
   16         Summary of review of EE2362 and corresponding evidence of
              consent
   17         Excerpts from the September 12, 2017 transcript of the deposition of
              Eurton’s 30(b)(6) representative, John Buchanan
   18         Eurton’s supplemental disclosures dated February 27, 2020, June 10,
              2020, July 8, 2020 and July 30, 2020
   19         Summary of review of EE2363 and corresponding evidence of
              consent




   November 1, 2021                                    /s/ David J. Kaminski
                                                      David J. Kaminski
                                                      Stephen A. Watkins
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